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                                                     U.S. Department of Justice

                                                     Andrew E. Lelling
                                                     United States Attorney
                                                     District of Massachusetts

Main Reception: (617) 748-3100                       John Joseph Moakley United States Courthouse
                                                     1 Courthouse Way
                                                     Suite 9200
                                                     Boston, Massachusetts 02210

                                                     December 21, 2020


William Fick, Esq.
Fick & Marx LLP
24 Federal Street, 4th Floor
Boston, MA 02110

          Re:       United States v. Eric Davis
                    Criminal No. 20-10136-RGS-5

Dear Mr. Fick:

        The United States Attorney for the District of Massachusetts (“the U.S. Attorney”) and
your client, Eric Davis (“Defendant”), agree as follows with respect to the above-referenced
case:

          1.        Change of Plea

        At the earliest practicable date, Defendant shall waive indictment and plead guilty to the
Superseding Information attached to this Plea Agreement charging him with: conspiracy to
distribute and possess with intent to distribute 500 grams or more of cocaine and cocaine base, in
violation of 21 U.S.C. § 846 (Count One); and being a felon in possession of a firearm, in
violation of 18 U.S.C. § 922(g)(1) (Count Two). Defendant expressly and unequivocally admits
that he committed the crimes charged in the Superseding Information, did so knowingly and
intentionally, and is in fact guilty of those offenses.

          2.        Penalties

        Defendant faces the following mandatory minimum and maximum penalties on Count
One of the Superseding Information: incarceration for at mandatory minimum term of five years,
up to forty years; supervised release for at least four years up to life; a fine of $5,000,000; a
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mandatory special assessment of $100; and forfeiture to the extent charged in the Superseding
Information.

        Defendant faces the following maximum penalties for Count Two: incarceration for ten
years; supervised release for three years; a fine of $250,000; a mandatory special assessment of
$100; and forfeiture to the extent charged in the Superseding Information.

       3.      Fed. R. Crim. P. 11(c)(1)(C) Plea

        This Plea Agreement is made pursuant to Fed. R. Crim. P. 11(c)(1)(C), and Defendant’s
guilty plea will be tendered pursuant to that provision. In accordance with Rule 11(c)(1)(C), if
the District Court (“Court”) accepts this Plea Agreement, the Court must include the agreed
disposition in the judgment. If the Court rejects any aspect of this Plea Agreement, the U.S.
Attorney may deem the Plea Agreement null and void. Defendant understands and
acknowledges that he may not withdraw his plea of guilty unless the Court rejects this Plea
Agreement under Fed. R. Crim. P. 11(c)(5).

       4.      Sentencing Guidelines

        The parties agree jointly to take the following positions at sentencing under the United
States Sentencing Guidelines (“USSG” or “Guidelines”). The parties agree that Defendant’s
total adjusted offense level under the Guidelines is calculated as follows:

                  in accordance with USSG § 2D1.1(c)(9), Defendant’s base offense level is 26,
                   because Defendant is responsible for at least two kilograms of cocaine but
                   less than 3.5 kilograms;

                  in accordance with USSG § 2D1.1(b)(1), Defendant’s base offense level in
                   increased by two because Defendant possessed a dangerous weapon; and

                  in accordance with USSG § 3E1.1, based on Defendant’s prompt acceptance
                   of personal responsibility for the offenses of conviction in this case, the
                   adjusted offense level is reduced by three.

        The U.S. Attorney’s agreement that the disposition set forth below is appropriate in this
case is based, in part, on Defendant’s prompt acceptance of personal responsibility for the
offenses of conviction in this case.

       The U.S. Attorney may, at his sole option, be released from his commitments under this
Plea Agreement, including, but not limited to, his agreement that Paragraph 5 constitutes the
appropriate disposition of this case, if at any time between Defendant’s execution of this Plea
Agreement and sentencing, Defendant:

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              (a)     Fails to admit a complete factual basis for the plea;

              (b)     Fails to truthfully admit Defendant’s conduct in the offenses of conviction;

              (c)     Falsely denies, or frivolously contests, relevant conduct for which
                      Defendant is accountable under USSG § 1B1.3;

              (d)     Fails to provide truthful information about Defendant’s financial status;

              (e)     Gives false or misleading testimony in any proceeding relating to the
                      criminal conduct charged in this case and any relevant conduct for which
                      Defendant is accountable under USSG § 1B1.3;

              (f)     Engages in acts that form a basis for finding that Defendant has obstructed
                      or impeded the administration of justice under USSG § 3C1.1;

              (g)     Intentionally fails to appear in Court or violates any condition of release;

              (h)     Commits a crime;

              (i)     Transfers any asset protected under any provision of this Plea Agreement;
                      or

              (j)     Attempts to withdraw Defendant’s guilty plea.

       Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the
Court and the U.S. Probation Office with accurate and complete information regarding this case.

       5.     Agreed Disposition

       Pursuant to Fed. R. Crim. P. 11(c)(1)(C), the U.S. Attorney and Defendant agree that the
following is a reasonable and appropriate disposition of this case:

              (a)     incarceration for a term between 105 to 130 months;
              (b)     no fine;

              (c)     48 months of supervised release;

              (d)     a mandatory special assessment of $200, which Defendant must pay to the
                      Clerk of the Court on or before the date of sentencing (unless Defendant

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                      establishes to the Court’s satisfaction that Defendant is unable to do so);
                      and
               (f)    forfeiture as set forth in Paragraph 7.

       Within the sentencing range agreed to by the parties, the sentence to be imposed upon
Defendant is within the discretion of the Court, subject to the provisions of the advisory USSG
and the factors set forth in 18 U.S.C. § 3553(a).

       6.      Waiver of Right to Appeal and to Bring Future Challenge

               (a)    Defendant has conferred with his attorney and understands that he has the
                      right to challenge his conviction in the United States Court of Appeals for
                      the First Circuit (“direct appeal”). Defendant also understands that, in
                      some circumstances, Defendant may be able to challenge his conviction in
                      a future proceeding (collateral or otherwise), such as pursuant to a motion
                      under 28 U.S.C. § 2255 or 28 U.S.C. § 2241. Defendant waives any right
                      to challenge Defendant’s conviction on direct appeal or in any future
                      proceeding (collateral or otherwise).

               (b)    Defendant has conferred with his attorney and understands that defendants
                      ordinarily have a right to challenge in a direct appeal their sentences
                      (including any orders relating to the terms and conditions of supervised
                      release, fines, forfeiture, and restitution) and may sometimes challenge
                      their sentences (including any orders relating to the terms and conditions
                      of supervised release, fines, forfeiture, and restitution) in a future
                      proceeding (collateral or otherwise). The rights that are ordinarily
                      available to a defendant are limited when a defendant enters into a Rule
                      11(c)(1)(C) agreement. In this case, Defendant waives any rights
                      Defendant may have to challenge the agreed-upon sentence (including any
                      agreement relating to the terms and conditions of supervised release, fines,
                      forfeiture, and restitution) on direct appeal and in a future proceeding
                      (collateral or otherwise), such as pursuant to 28 U.S.C. § 2255 and 28
                      U.S.C. § 2241. Defendant also waives any right Defendant may have
                      under 18 U.S.C. § 3582(c)(2) to ask the Court to modify the sentence,
                      even if the USSG are later amended in a way that appears favorable to
                      Defendant. Likewise, Defendant agrees not to seek to be resentenced with
                      the benefit of any change to Defendant’s Criminal History Category that
                      existed at the time of Defendant’s original sentencing. Defendant also
                      agrees not to challenge the sentence in an appeal or future proceeding
                      (collateral or otherwise) even if the Court rejects one or more positions
                      advocated by any party at sentencing. In sum, Defendant understands and
                      agrees that in entering into this Plea Agreement, the parties intend that
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                       Defendant will receive the benefits of the Plea Agreement and that the
                       sentence will be final.

               (c)     The U.S. Attorney agrees that he will not appeal the imposition by the
                       Court of a sentence within the sentencing range agreed to by the parties as
                       set out in Paragraph 5, even if the Court rejects one or more positions
                       advocated by either party at sentencing.

               (d)     Regardless of the previous subparagraphs, Defendant reserves the right to
                       claim that: (i) Defendant’s lawyer rendered ineffective assistance of
                       counsel under Strickland v. Washington; or (ii) the prosecutor in this case
                       engaged in misconduct that entitles Defendant to relief from Defendant’s
                       conviction or sentence.

       7.      Forfeiture

        Defendant understands that the Court will, upon acceptance of Defendant’s guilty plea,
enter an order of forfeiture as part of Defendant’s sentence, and that the order of forfeiture may
include assets directly traceable to Defendant’s offense, assets used to facilitate Defendant’s
offense, substitute assets and/or a money judgment equal to the value of the property derived
from, or otherwise involved in, the offense.

       The assets to be forfeited specifically include, without limitation, the following:
              a. $17,923 in U.S. currency, seized from 48 Fottler Road, Boston,
                  Massachusetts;
              b. Smith & Wesson M&P magazine, seized from 48 Fottler Road, Boston,
                  Massachusetts;
              c. one box American Eagle 9 mm Luger 40 cartridges, one box Remington .45
                  cal. auto 5 cartridges, five rounds of Federal 40 S&W ammunition, one round
                  of Blazer 9 mm Luger ammunition, fifteen rounds of Blazer 9mm
                  ammunition, eight rounds of Federal 9mm ammunition, three rounds of
                  Tulammo 9 mm ammunition, one round of Perfecta 9 mm ammunition, three
                  rounds of Speer 40 S&W ammunition, nine rounds of Winchester 40 S&W
                  ammunition, and one round of Federal 40 S&W ammunition, seized from 48
                  Fottler Road, Boston, Massachusetts;
              d. one rifle light attachment, seized from 48 Fottler Road, Boston,
                  Massachusetts;
              e. G-Star money counter, seized from 48 Fottler Road, Boston, Massachusetts;
              f. three cellular phones, seized from Homewood Suites, Room 318, 50 Royall
                  Street, Canton, Massachusetts;
              g. a Springfield Armory, XD-9 9 mm pistol, bearing serial number US934206,
                  sixteen rounds of assorted 9 mm ammunition, and large capacity magazine,

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                   seized from Homewood Suites, Room 318, 50 Royall Street, Canton,
                   Massachusetts;
                h. $31,547 in U.S. currency, seized from Homewood Suites, Room 318, 50
                   Royall Street, Canton, Massachusetts; and
                i. two scales, seized from Homewood Suites, Room 318, 50 Royall Street,
                   Canton, Massachusetts.

        Defendant admits that these assets, with the exception of some portion of item (a) above,
are subject to forfeiture on the grounds that they constitute, or are derived from, proceeds of
Defendant’s offense; they were used to facilitate Defendant’s offense; and/or they were involved
in Defendant’s offense. Defendant agrees to consent to the entry of orders of forfeiture for such
property and waives the requirements of Federal Rules of Criminal Procedure 11(b)(1)(J), 32.2,
and 43(a) regarding notice of the forfeiture in the charging instrument, advice regarding the
forfeiture at the change-of-plea hearing, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment. Defendant understands and agrees that forfeiture
shall not satisfy or affect any fine, lien, penalty, restitution, cost of imprisonment, tax liability or
any other debt owed to the United States.

         Defendant agrees to assist fully in the forfeiture of the foregoing assets. Defendant
agrees to promptly take all steps necessary to pass clear title to the forfeited assets to the United
States, including but not limited to executing any and all documents necessary to transfer such
title, assisting in bringing any assets located outside of the United States within the jurisdiction
of the United States, and taking whatever steps are necessary to ensure that assets subject to
forfeiture are not sold, disbursed, wasted, hidden or otherwise made unavailable for forfeiture.
Defendant further agrees (a) not to assist any third party in asserting a claim to the forfeited
assets in an ancillary proceeding, and (b) to testify truthfully in any such proceeding.

         If the U.S. Attorney requests, Defendant shall deliver to the U.S. Attorney within 30 days
after signing this Plea Agreement a sworn financial statement disclosing all assets in which
Defendant currently has any interest and all assets over which Defendant has exercised control,
or has had any legal or beneficial interest. Defendant further agrees to be deposed with respect
to Defendant’s assets at the request of the U.S. Attorney. Defendant agrees that the United
States Department of Probation may share any financial information about the Defendant with
the United States Attorney’s Office.

        Defendant also agrees to waive all constitutional, legal, and equitable challenges
(including direct appeal, habeas corpus, or any other means) to any forfeiture carried out in
accordance with this Plea Agreement.

       Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or other personal property seized by the United States, or seized by any state or local
law enforcement agency and turned over to the United States, during the investigation and
prosecution of this case, and consents to the forfeiture of all such assets.
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       8.      Civil Liability

         By entering into this Plea Agreement, the U.S. Attorney does not compromise any civil
liability, including but not limited to any tax liability, Defendant may have incurred or may incur
as a result of Defendant’s conduct and plea of guilty to the charges specified in Paragraph 1 of
this Plea Agreement.

       9.      Withdrawal of Plea by Defendant or Rejection of Plea by Court

         Should Defendant move to withdraw his guilty plea at any time, or should the Court
reject the parties’ agreed-upon disposition of the case or any other aspect of this Plea Agreement,
this Plea Agreement shall be null and void at the option of the U.S. Attorney. In this event,
Defendant agrees to waive any defenses based upon the statute of limitations, the constitutional
protection against pre-indictment delay, and the Speedy Trial Act with respect to any and all
charges that could have been timely brought or pursued as of the date of this Plea Agreement.

       10.     Breach of Plea Agreement

        If the U.S. Attorney determines that Defendant has failed to comply with any provision of
this Plea Agreement, has engaged in any of the activities set forth in Paragraph 4(a)-(j), has
violated any condition of Defendant’s pretrial release, or has committed any crime following
Defendant’s execution of this Plea Agreement, the U.S. Attorney may, at his sole option, be
released from his commitments under this Plea Agreement in their entirety by notifying
Defendant, through counsel or otherwise, in writing. The U.S. Attorney may also pursue all
remedies available to him under the law, regardless whether he elects to be released from his
commitments under this Plea Agreement. Further, the U.S. Attorney may pursue any and all
charges which otherwise may have been brought against Defendant and/or have been, or are to
be, dismissed pursuant to this Plea Agreement. Defendant recognizes that his breach of any
obligation under this Plea Agreement shall not give rise to grounds for withdrawal of
Defendant’s guilty plea, but will give the U.S. Attorney the right to use against Defendant before
any grand jury, at any trial or hearing, or for sentencing purposes, any statements made by
Defendant and any information, materials, documents or objects provided by Defendant to the
government, without any limitation, regardless of any prior agreements or understandings,
written or oral, to the contrary. In this regard, Defendant hereby waives any defense to any
charges that Defendant might otherwise have based upon any statute of limitations, the
constitutional protection against pre-indictment delay, or the Speedy Trial Act.

       11.     Who is Bound by Plea Agreement

        This Plea Agreement is limited to the U.S. Attorney for the District of Massachusetts, and
cannot and does not bind the Attorney General of the United States or any other federal, state or
local prosecutive authorities.
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       12.     Modifications to Plea Agreement

       This Plea Agreement can be modified or supplemented only in a written memorandum
signed by the parties or on the record in court.

        If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorney Timothy E.
Moran.


                                                     Very truly yours,

                                                     ANDREW E. LELLING
                                                     United States Attorney

                                             By:     /s/ Glenn A. MacKinlay
                                                     GLENN A. MACKINLAY
                                                     Chief, Organized Crime and Gang Unit
                                                     TIMOTHY MORAN Digitally signed by TIMOTHY MORAN
                                                                   Date: 2021.01.19 11:22:55 -05'00'


                                                     TIMOTHY E. MORAN
                                                     KAITLIN O’DONNELL
                                                     Assistant U.S. Attorneys




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